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        ALTAIR INSTRUMENTS, INC.
    8

    9                                       UNITED STATES DISTRICT COURT
   10                                  CENTRAL DISTRICT OF CALIFORNIA
   11

   12 ALTAIR INSTRUMENTS, INC., a                          Case No. 2:19-cv-08967-PSG-JC
        California corporation,
   13                                                      DISCOVERY MATTER
                               Plaintiff,
   14                                                      PLAINTIFF’S EX PARTE
                   vs.                                     APPLICATION FOR ORDER
   15                                                      REQUIRING TELEBRANDS CORP.
        TELEBRANDS CORP., and DOES 1                       AND ITS WITNESSES TO APPEAR
   16 through 10,                                          FOR DEPOSITIONS
   17                          Defendants.                 (Memorandum of Points and
                                                           Authorities Attached hereto;
   18                                                      Declaration of Ronald P. Oines and
                                                           [Proposed] Order Filed Herewith)
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                                                                EX PARTE APPLICATION FOR ORDER
        2118/024004-0037
                                                                REQUIRING TELEBRANDS, ET AL. TO
        15196905.1 a06/22/20                             -1-    APPEAR FOR DEPOSITIONS
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    1                                 EX PARTE APPLICATION
    2             Plaintiff ALTAIR INSTRUMENTS, INC. (“Altair”) submits this Ex Parte
    3 Application for an Order requiring Telebrands Corp. (“Telebrands”) and its

    4 witnesses to appear for a deposition in this case (the “Application”) on June 30, July

    5 1 and July 2, 2020, respectively. Initial expert reports are due on July 10, 2020.

    6 Discovery cutoff is August 10, 2020, and trial commences on November 10, 2020.

    7 Ex parte relief is necessary because late last week, Telebrands notified Altair that its

    8 witnesses will not appear at the properly noticed depositions. Rather than travel to

    9 New Jersey to make a record of Telebrands’ non-appearance and then seek
   10 sanctions, Altair believes it is prudent and more efficient to seek an Order requiring

   11 Telebrands to appear.

   12             Emergency relief is requested and necessary because Altair noticed the
   13 depositions to take place before initial expert reports are due, but Telebrands late

   14 last week informed Altair that it and its witnesses simply would not appear at the

   15 depositions. Telebrands has never stated that the witnesses are unavailable. Rather,

   16 Telebrands simply is refusing to appear.

   17                            NOTICE TO OPPOSING COUNSEL
   18             Telebrands is represented by Robert Maldonado
   19 (rmaldonado@cooperdunham.com), Laura Alos (lalos@cooperdunham.com) and
   20 Tonia Sayour (tsayour@cooperdunham.com) of Cooper & Dunham, 30 Rockefeller

   21 Plaza, 20th Floor, New York, NY 10112, Telephone: (212) 278-0509), and Peter J.

   22 Farnese (pjf@bfllplaw.com) of Beshada Farnese LLP, 11601 Wilshire Boulevard,

   23 Suite 500, Los Angeles, CA 90025, Telephone: (815) 935-5322. Altair gave notice

   24 of its intent to file this Application at approximately 11:50 a.m. on June 22, 2020,

   25 and served this Application on Telebrands’ counsel. Altair informed Telebrands’

   26 counsel that its Opposition, if any, to the Application would be due no later than 24

   27 hours from the electronic filing of this Application. Altair understands Telebrands

   28 will oppose this Application.

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    1                          MEMORANDUM OF POINTS AND AUTHORITIES
    2             Plaintiff simply wishes to take depositions of Telebrands and its witnesses in
    3 New Jersey before initial expert reports are due on July 10, 2020. Telebrands is

    4 simply refusing to attend the properly noticed depositions.

    5             On June 3, 2020, Altair’s counsel sent an email to Telebrands’ counsel
    6 indicating that Altair would be serving a Notice of Depositions and raised the

    7 possibility of conducting the depositions remotely. (Oines Dec. Ex. A.) On June 4,

    8 Altair served a Notice of Depositions, which depositions were noticed to occur on

    9 June 30, July 1 and 2, 2020. (Oines Dec. Ex. B.) The deponents are Telebrands
   10 (30(b)(6)), and five individual witnesses identified in Telebrands’ Initial Disclosures

   11 in this case. (Id.) Also on June 4, Altair sent a letter to Telebrands’ counsel asking

   12 if Telebrands would stipulate to proceed with the depositions remotely under FRCP

   13 Rule 30(b)(4). Altair also indicated that it would be willing to move the dates if

   14 they did not work for the witnesses, although the depositions need to be taken before

   15 the July 4 weekend. (Oines Dec. Ex. C.)

   16             On June 11, Telebrands indicated that it prefers that the depositions be
   17 conducted in person. Telebrands did not say that the witnesses were unavailable on

   18 the noticed dates and times. (Oines Dec. Ex. D.) However, Telebrands suggested

   19 that the parties should ask the Court to continue the trial date and all deadlines. (Id.)
   20 Later, on June 11, Altair informed Telebrands that it did not wish to ask the Court to

   21 continue the trial or other dates. Altair again asked Telebrands if it wished to

   22 stipulate for the depositions to be conducted remotely and, if not, Altair indicated it

   23 would proceed in person on the dates noticed. (Oines Dec. Ex. E.)

   24             Having received no response to his June 11 email, on June 18, counsel for
   25 Altair sent an email to counsel for Telebrands in which counsel asked Telebrands to

   26 let Altair know by the end of the day whether Telebrands wanted Altair to conduct

   27 the depositions remotely. (Oines Dec. Ex. F.) On June 18, Telebrands’ counsel

   28 responded: “The witnesses will not be appearing on the dates noticed. We are

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    1 happy to discuss alternate dates, but will not be in a position to do so until next

    2 week.” (Oines Dec. Ex. G.) On June 18, Altair’s counsel asked if Telebrands

    3 planned to seek a protective order and, if not, under what authority Telebrands was

    4 refusing to appear at properly noticed depositions. (Oines Dec. Ex. H.) Telebrands

    5 has not responded to that email. (Oines Dec. ¶ 10.) At no time, has Telebrands

    6 indicated that the witnesses are not available on the noticed dates. Rather,

    7 Telebrands is simply refusing to appear.

    8             Although Altair believes it could appear at the depositions on June 30, July 1
    9 and 2, make a record of the non-appearances, and then seek sanctions, this would
   10 involve round trip travel to New Jersey from Los Angeles and a three night stay in

   11 New Jersey and other significant costs. Altair believes it is more prudent and

   12 efficient for the parties and the Court to address Telebrands’ refusal to appear now,

   13 before the depositions are schedule to take place.

   14             In light of the foregoing, Altair simply requests an order requiring Telebrands
   15 and its witnesses to appear at the properly noticed depositions.

   16             Altair has been informed by the reporting service in New Jersey that, although
   17 it is able to conduct the depositions with the witnesses and counsel present, given

   18 social distancing needs, they would be able to accommodate only four persons in

   19 their conference room. (Oines Dec. ¶ 11.) Therefore, Altair also requests that the
   20 Court order that Altair may, if it chooses to do so, take the depositions remotely

   21 pursuant to Rule 30(b)(4) of the Federal Rules of Civil Procedure. Alternatively, if

   22 the Court does not order that the depositions may be taken remotely, Altair requests

   23 an Order that Telebrands may have only one witness and one counsel in the

   24 conference room during the depositions to accommodate the requirements of the

   25 court reporting service.

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                                                             EX PARTE APPLICATION FOR ORDER
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    1 Dated: June 22, 2020               RUTAN & TUCKER, LLP
                                         RONALD P. OINES
    2                                    BENJAMIN C. DEMING
                                         SETH M. JESSEE
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    4                                    By: /s/ Ronald P. Oines
                                                 Ronald P. Oines
    5                                       Attorneys for Plaintiff and
                                            Counterdefendant ALTAIR
    6                                       INSTRUMENTS, INC.
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                                                   EX PARTE APPLICATION FOR ORDER
        2118/024004-0037
                                                   REQUIRING TELEBRANDS, ET AL. TO
        15196905.1 a06/22/20                -4-    APPEAR FOR DEPOSITIONS
